Case 1:11-cv-00191-MSK-MJW Document 11 Filed 04/06/11 USDC Colorado Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

                     COURT FILE NO.: 11-cv-00191-MSK-MJW


  Michelle Biglen,
       Plaintiff

  v.

  NCO Financial Systems, Inc.,
       Defendant
  __________________________________________________________________

                       NOTICE OF SETTLEMENT
  __________________________________________________________________

        NOW COME THE PARTIES by and through their attorneys to respectfully

  notify this Honorable Court that this case has settled. The parties hereby

  respectfully request that this Court allow sixty (60) days within which to complete

  the settlement and file a Joint Stipulation to Dismiss this matter. This Court shall

  retain jurisdiction over this matter until fully resolved. Plaintiff further requests

  that any Orders submitted by this Court in relation to this matter include a directive

  that Defendants comply with the terms of this settlement in a timely manner.

                                           Respectfully submitted,

  April 6, 2011                            /s/ Craig Ehrlich
                                           Craig Ehrlich
                                           Attorney for Plaintiff
Case 1:11-cv-00191-MSK-MJW Document 11 Filed 04/06/11 USDC Colorado Page 2 of 2




  Filed electronically on this 6th day of April, with:

  United States District Court CM/ECF system

  Notification sent electronically via the Court’s ECF system on this 6th day of April,
  2010 to:

  Louis Leonard Galvis
  Sessions, Fishman, Nathan, Israel, LLC
  645 Stonington Lane
  Fort Collins CO 80525


  By: s/Jessica DeCandia
      Jessica DeCandia
